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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      Case No. 15cr2822-CAB
11                      Plaintiff,                  ORDER OF CRIMINAL
12          v.                                      FORFEITURE

13   FERNANDO VALDES (4),
14                      Defendant.
15
16         WHEREAS, in the Superseding Information in the above-captioned case, the
17 United States sought forfeiture from Defendant FERNANDO VALDES (4)
18 (“Defendant”) of all proceeds of illegal conduct in violation of 18 U.S.C. § 1349, and
19 subject to forfeiture to the United States pursuant to 18 U.S.C. § 982(a)(7); and
20         WHEREAS, on or about July 13, 2017, Defendant pled guilty before
21 Magistrate Judge Jan M. Adler to the one-count Superseding Information, which plea
22 included consent to the forfeiture allegation of the Superseding Information, and an
23 agreement to forfeit to the United States the amount of $192,000 as proceeds
24 Defendant received from the offense, which forfeiture shall be included and
25 incorporated as part of the judgment in this case; and
26         WHEREAS, on July 31, 2017 this Court accepted the guilty plea of Defendant;
27 and
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 1         WHEREAS, by virtue of the admissions of the Defendant set out in the plea
 2 agreement and guilty plea, the Court determined that $192,000.00 represents the
 3 amount of gross proceeds that the Defendant obtained directly as a result of the
 4 offense to which he pled guilty, 18 U.S.C. § 1349, as charged in the Superseding
 5 Information; and
 6         WHEREAS, by virtue of said guilty plea and the Court’s findings, the
 7 United States is now entitled to an Order of Forfeiture in its favor against the
 8 Defendant for the proceeds received by the Defendant in the amount of $192,000,
 9 pursuant to 18 U.S.C. § 982(a)(7) and Rule 32.2(b) of the Federal Rules of Criminal
10 Procedure; and
11         WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture
12 addendum, the United States has established the requisite nexus between the
13 $192,000 forfeiture and the offense; and
14         WHEREAS, the Defendant agreed to the substitution of assets as provided in
15 18 U.S.C. § 982(b) which incorporates 21 U.S.C., § 853(p) and has further agreed the
16 United States may take any and all actions to collect the forfeiture; and
17         WHEREAS, the United States, having submitted the Order herein to the
18 Defendant through his attorney of record, to review, and no objections having been
19 received;
20         Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
21         1.     Defendant FERNANDO VALDES (4) shall forfeit to the United States
22 the sum of $192,000 pursuant to 18 U.S.C. § 982(a)(7) in the form of a forfeiture
23 order for the proceeds Defendant received from his offense of conviction, which
24 forfeiture is in favor of the United States against Defendant FERNANDO VALDES
25 (4), with interest to accrue thereon in accordance with 18 U.S.C. § 3612(f) and 28
26 U.S.C. § 1961; and
27         2.    This Court shall retain jurisdiction in the case for the purpose of
28 enforcing the order of forfeiture and collecting and enforcing the forfeiture; and
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 1         3.    Pursuant to Rule 32.2(b)(4), this Order of Forfeiture shall be made final
 2 as to the Defendant at the time of sentencing and is part of the sentence and included
 3 in the judgment; and
 4         4.    Pursuant to Rule 32.2(b)(3) the United States may, at any time, conduct
 5 discovery to identify, locate, or dispose of directly forfeitable assets and substitute
 6 assets against which this Order of Forfeiture may be enforced; and
 7         5.      The United States may, at any time, move pursuant to Rule 32.2(e) to
 8 amend this Order of Forfeiture to substitute property having a value not to exceed
 9 $192,000 to satisfy the forfeiture in whole or in part; and
10         6.    The United States may take any and all actions available to it to collect
11 and enforce the forfeiture.
12         DATED: 9/7/17
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14                                   Hon. Cathy Ann Bencivengo
                                     United States District Judge
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